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 5   Attorney for Defendant
     TERRANCE R. SMALLS
 6
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,             )   Case No. 2:12-cr-00364 GEB
11                                         )
                       Plaintiff,          )   AMENDED STIPULATION TO
12                                         )   CONTINUE STATUS CONFERENCE
            v.                             )   AND REGARDING EXCLUDABLE
13                                         )   TIME PERIODS UNDER SPEEDY
                                           )   TRIAL ACT; [PROPOSED] ORDER
14                                         )   THEREON
     SIMEON SHAWNISE GREGORY               )
15   SARAH ELIZABETH TROUT                 )
     TERRANCE RYCHAN SMALLS                )
16   THERESA H. CAMPBELL                   )
                                           )
17                Defendants.              )
     __________________________
18
19
                                        STIPULATION
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21
            Plaintiff United States of America, by and through its counsel of
22
     record, and the defendants, by and through each counsel of record,
23
     hereby stipulate as follows:
24
     1.     By previous order, this matter was set for status conference on
25
            March 22, 2013.
26
     2.     By this stipulation, all defendants now move to continue the
27
28   Stip and Order
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 1          status conference until May 3, 2013, and to exclude time between
 2          March 22, 2013 and May 3, 2013 under Local Code T4. This Amended
 3          Stipulation is meant to supercede the previously submitted
 4          Stipulation and Proposed Order and is identical in all respects
 5          except insofar as it adds Defendant Theresa H. Campbell to the
 6          Stipulation and Proposed Order. Plaintiff is unopposed.
 7   3.     The parties agree and stipulate, and request that the Court find
 8          the following:
 9          a.        The government has discovered in excess of three thousand
10                    pages of discovery.   Additional discovery has been requested
11                    and is forthcoming but has not yet been produced.
12          b.        Counsel for the defendants desires additional time to consult
13                    with their respective clients, to review the current charges,
14                    to conduct investigation and research related to the charges,
15                    to review discovery, to discuss potential resolutions with
16                    their clients and the prosecution, to prepare pretrial
17                    motions, and to otherwise prepare for trial.
18          c.        Counsel for the defendants believe that failure to grant the
19                    above-requested continuance would deny them the reasonable
20                    time necessary for effective preparation, taking into account
21                    the exercise of due diligence.
22          d.        The government is unopposed to the continuance.
23          e.        Based on the above-stated findings, the ends of justice
24                    served by continuing the case as requested outweigh the
25                    interest of the public and the defendants in a trial within
26                    the original date prescribed by the Speedy Trial Act.
27          f.        All counsel and defendant agree that time under the Speedy
28                    Trial Act from the date this stipulation is lodged, through


     Stip and Order                             2
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 1                    May 3, 2013 should be excluded in computing the time within
 2                    which trial must commence under the Speedy Trial Act,
 3                    pursuant to Title 18 U.S.C. § 3161 (H)(7)(B)(iv) and Local
 4                    Code T4.
 5          g.        Nothing in this stipulation and order shall preclude a
 6                    finding that other provisions of the Speedy Trial Act dictate
 7                    that additional time periods are excludable from the period
 8                    within which a trial must commence.
 9
                                          BENJAMIN WAGNER
10                                        United States Attorney
11
     DATED: March 22, 2013.          /S/STEVEN B. PLESSER for:
12                                        JARED C. DOLAN
                                          Assistant U.S. Attorney
13                                        Attorney for Plaintiff
14   DATED: March 22, 2013.          Respectfully submitted,
15                                        /s/ STEVEN B. PLESSER
                                          STEVEN B. PLESSER
16                                        Attorney for Defendant
                                          TERRANCE R. SMALLS
17
     DATED: March 22, 2013.          Respectfully submitted,
18
                                          /s/ STEVEN B. PLESSER
19                                        DAVID D. FISCHER
                                          Attorney for Defendant
20                                        SARAH ELIZABETH TROUT
21   DATED: March 22, 2013.          Respectfully submitted,
22                                        /s/ STEVEN B. PLESSER
                                          JEFFREY L. STANIELS
23                                        Attorney for Defendant
                                          SIMEON SHAWNISE GREGORY
24
     DATED: March 22, 2013.          Respectfully submitted,
25
                                          /s/ STEVEN B. PLESSER
26                                        OLAF HEDBERG
                                          Attorney for Defendant
27                                        THERESA H. CAMPBELL
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     Stip and Order                            3
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                                         O R D E R
 2
            IT IS SO FOUND AND ORDERED.
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 4   Dated:     March 22, 2013
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 6                                       GARLAND E. BURRELL, JR.
 7                                       Senior United States District Judge

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